                                          Case: 21-11926                 Doc: 2-1           Filed: 07/16/21                 Page: 1 of 3


 Fill in this information to identify the case:
 Debtor name Pelco Structural, L.L.C.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                OKLAHOMA
 Case number (if known):         21-11926                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Exelon Business                                                Trade debt                                                                                            $2,749,932.82
 Services Company
 LLC
 PO Box 805398
 Chicago, IL
 60680-5398
 Steel and Pipe                                                 Trade debt                                                                                              $179,875.55
 Supply Co Inc
 Port of Catoosa
 5275 Bird Creek
 Avenue
 Catoosa, OK 74015
 Kloeckner Metals                                               Trade debt                                                                                              $157,693.81
 Corporation
 5250 Bird Creek
 Avenue
 Catoosa, OK 74015
 Valmont Coatings                                               Trade debt                                                                                              $100,889.24
 25055 Alliance Drive
 Claremore, OK
 74019
 Metals USA                                                     Trade debt                                                                                                $60,525.32
 2800 North 43rd
 Street East
 Muskogee, OK
 74403
 Madden Bolt                                                    Trade debt                                                                                                $58,647.89
 Corporation
 13420 Hempstead
 Highway
 Houston, TX 77040
 Praxair Distribution                                           Trade debt                                                                                                $49,658.12
 Inc
 1824 Southwest
 Blvd
 Tulsa, OK
 74107-1714


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 Debtor    Pelco Structural, L.L.C.                                                                           Case number (if known)         21-11926
           Name

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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Greentree                                                      Trade debt                                                                                                $27,849.86
 Packaging and
 Lumber
 Suite 200
 818 South Main
 Grapevine, TX 76051
 Abitl Powder                                                   Trade debt                                                                                                $24,796.83
 Coating LLC
 4940 East 66th
 Street North
 Tulsa, OK 74117
 Bowers Trucking                                                Trade debt                                                                                                $19,750.00
 Inc
 66417 US Highway
 60
 Ponca City, OK
 74604
 D and B Processing                                             Trade debt                                                                                                $19,592.83
 LLC
 9750 South 219th
 East Avenue
 Broken Arrow, OK
 74014
 Steel Service                                                  Trade debt                                                                                                $14,897.61
 24412 Amah
 Parkway
 Claremore, OK
 74019
 All Pro Fasteners                                              Trade debt                                                                                                $13,512.29
 3701 South 73rd
 East Avenue
 Tulsa, OK 74145
 C and T Express Inc                                            Trade debt                                                                                                  $7,300.00
 900 South 12th
 Street
 Broken Arrow, OK
 74012
 Grainger                                                       Trade debt                                                                                                  $5,716.14
 10707 East Pine
 Street
 Tulsa, OK
 74116-1547
 Bridge Crane                                                   Trade debt                                                                                                  $3,324.04
 Express
 PO Box 940
 Kiefer, OK 74041
 Timco Blasting and                                             Trade debt                                                                                                  $2,870.00
 Coatings
 200 North Main
 Street
 Bristow, OK 74010



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 Debtor    Pelco Structural, L.L.C.                                                                           Case number (if known)         21-11926
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 EDSCO Fasteners                                                Trade debt                                                                                                  $2,816.00
 Inc
 PO Box 671510
 Dallas, TX
 75267-1510
 C4 Industrial Inc                                              Trade debt                                                                                                  $1,959.63
 6746 East 12th
 Street
 Tulsa, OK 74112
 Straightline                                                   Trade debt                                                                                                  $1,922.08
 Distributing LLC
 PO Box 471974
 Tulsa, OK 74147




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